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 IN THE DISTRICT COURT OF THE STATE OF CALIFORNIA
 COUNTY OF Los Angeles

 huges, melvin louis
    vs
 CASE NUMBER 2:21-cv-04569-JAK-~1~C~X




Subject: Motion for summary adjudication

 I. INTRODUCTION

Claimant huges, melvin louis respectfully moves District Court to vacate this case
2:21-cv-04569-JAK-KLS entered on August 8, 2023 based on the fact that special agent
Bryan Starek and Kathleen Alexander falsely personated claimant and knowingly used false
information in an official capacity Penal Code 528 &Penal Code 115. (b)(3)/26 USC 6103




II. FACTUAL BACKGROUD.

All supporting documents related this case.

Exhibit A. Penal Code 528 8~ Penal Code 115

-Document falsly used in an official capacity (penal code 528)
-Documents proving that special agent Bryan Starek and special agent Kathleen Alexander
Knowingly personated surname in full civil case.(Penal Code 115)
(b)(3)/26 USC 6103

Exibit B. Email request to be addressed in legal name

- Email request to Special Agent Kathleen Alexander to address claimant by my full legal
identity. (Penal Code 115)

Exhibit C Documents to confirm Legal Identity of claimant.

-Legal identification (birth certificate) Penal Code 115.
-Legal identification (pass port) Penal Code 115.




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 Exhibit D Information Referral

 -Form 3949 Information Referral

 Exibit E. Affidavit of Truth

 -Affidavit of Truth

 Exhibit F. Affidavit of Publication

 - Affidavit of Publication of Certificate of Assumed Name




 III. ARGUMENT

 Special agent Bryan Starek and Special Agent Kathleen Alexander knowingly personated my
 legal identity in an official capacity (Penal Code 115) as well as used false information to file
 documents publicly in the state of Calfofrnia (Penal Code 528). Special Bryan Starek and
 Special Agent Kathleen Alexander used false surname along with illegal address throughout this
 civil investigation while possessing claimant's legal passport and legal birth certificate since
 2021.


Both agents Bryan Starek and Kathleen Alexander refused to use my legal identity in this case
 but insisted on using false information with all correspondence to identify the claimant in on
going civil case 2:21-cv-08339 and seizer. According to state code this is a crime.
(b)(3)/26 USC 6103

 Penal Code 115 makes it a felony to knowingly file, register, or record a false or forged
 instrument in any public office within the state.(b)(3)/26 USC 6103

 Penal Code 528 makes it a felony to falsely peronate another person in either their private or
 official capacity.

Amendment 14.51.5.4.3 Notice of Charge and Due Process
(b)(3)/26 USC 6103


 IV. CONCLUSION

 For the foregoing reasons, Claimant respectfully requests that the Court vacate this case
 NUMBER 2:21-cv-04569-JAK-KLS based on Penal Code 528 &Penal Code 115,




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Amendment 14.S.5.4.3 Notice of Charge and Due Process.
(b)(3)/26 USC 6103
Claimant further requests that the Court order the return of all seized property to Claimant.




   ATED: 9/6/2023
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 hugs, melvin louis
 1014 S. Westlake Blvd 14-318
 Westlake Village, CA. 91361
 Phn 323 787 3854




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~`          Department of the Treasury
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!           Internal Revenue Service                                        t~8~t~~2o22
 i r        Criminal Investigation
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            SOI W.t}cean Btu~i., #64fi0
            Long Beach, CA 90842
                                                                            Person to contact;
                                                                            Kathleen Al~:xanc~er
                                                                            Kath€een.AJexand~r(a~a.irs.gov
            Melvin Hughes                                                   Employee iD nurit~r:
            23301 W.PampaY~o St                                             1Ut}01277t37
            Malibu, CA 90265                                                Contact t+~iephane number:
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Glenn Andersen ~`ederal Building
5(?1 West +C~ccan Boulevard
Card 13e~ch, CA 908112
What you need to dc~:
Please call or et~il the individual listed ~bc~ve to cor~firrn th~c app~i~trner~t.


Thank you far your cooperation.


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                                                                            ~      ~~~
                                                                         Kathleen Alexander
                                                                         Special Agent




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The registrantlowner hereby agrees co unconditic►n~[ty re(+~~ss and h+~id haarrrr€l~ss the lnternai
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Executed this                         day of                             2Q     21



                                                                    Siena#urn Qf Recipient



                                                                     Signa~tur+e of Witness




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      Inventory Listing cif All Items Seized at Search Warrant Site

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       Inventory Listing a# Ali Items Seized at Search'Warcant Sits

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          ~>i               \"~ 1   DEPARTMENT OF THE TREASURY
          {~; ~
          .~ ~~ i                      I NTERNAL REVENUE SERVICE
           ~~, ki:      .                 WASHINGTON, D.C. 20224
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    C riminal Investigation             A ugust 8, 2023



   Melvin Hughes
   23301 W. Pompano Street
   Malibu, CA 91710


   I n RE: Forfeited Property

   Dear Mr Hughes

The property located at 23301 West Pompano Street in Malibu, California was forfeited to
the United States on July 13, 2023 in case number 17-cv-04569, United States of
America v. Real Property Located in Malibu, California, filed in the United States District
Court for the Central District of California. A copy of the Default Judgment of Forfeiture is
attached for your reference.

Please call me at(657) 247-3388 so we can discuss a resolution to the disposition of this
property.

                                                 Sincerely,


                                                   ~~                ,,.►
                                                  Bryan Starek
                                                  Special Agent -Asset Forfeiture Coordinator
                                                  IRS -Criminal Investigation
                                                  Los Angeles Field Office

       Enclosure: Default Judgement of Forfeiture, filed July 13, 2023




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 Exibit B. Email request to be addressed in legal
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 Exhibit C Documents to confirm Legal Identity of
 claimant.




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                                                        CERTIFICATION OF BIRTI3


~        224005
             CHILD'S NAME(LAST, FIRST, SECOND)
                                                                                                            BIRTH NO: 119-1963-044-00555.


             gIUGES,MELVIN LOUIS

             BERTH DATE                    TIME OF BIRTH                ;iEX                   NUMBER BORN           BIRTH ORDER
             October 25,1963               ****                         NI                     1                     1

             PLACE OF BIRTW (CITY, TOWN,OR LOCATION}
             SHREVEPORT

             NAME OF HOSPITAL OR INSTITUTION
_            *CCDNFED~RATE MEMORIAL                                                      ._                                                 _ter,, __ ,,   -,_,-
                                                                                                                                                             -
             RESIDENCE OF MOTHER {CITY, TdWN, OR LOCATION)
             1VIC DARE

             PARISH                                                     STATE                                       ZIP CODE
             BOSSIER                                             _      LA                                          00000

             STREET ADDRESS OF RESIDENCE
             3 MILES SOUTH

             FATHER'S NAME(LAST, FIRST, SECOND)
             ,
             ~****


             CITY AND STATE OF DIRTH pF NOT U.S., NAME OF COUnITRI~
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             /;GE AT THIS BIRTH
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             1AOTHER'S MAIDEN NAME(LAST, FIRST, SECOND)
             HUGES,GEORGIA LEE

             ~;ITY AND STATE OF BIRTH (IF NOT U.S., NAtitE OF CCUt;TRI~
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             VOID AND IIV VALID. DO NOT ACCEPT
            b55UED BY: Thomas, Karen



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            \
            "¢i`~                                                    OR DOCUMENT REGISTERED WITH THE VITAL RECORDS REGISTRY OF
                                           ~~    ~~                  THE STATE OF LOUISIANA, PURSUANT TO LSA - R.S.4Q:32, ET SEQ.
             ~ ~          *002240065~k


            ~3                                                                   ~            STATE REGISTRAR                  •—
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  Exhibit D Information Referral




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Case 2:21-cv-04569-JAK-KS   Document 33 Filed 09/07/23   Page 21 of 25 Page ID
                                    #:304




 Exhibit E. Affidavit of Fact




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Case 2:21-cv-04569-JAK-KS          Document 33 Filed 09/07/23            Page 22 of 25 Page ID
                                           #:305




 AFFIDAlfIT CAF FACT, I hereby declared and a rm under penalty of
 peP~UfY th3t:(b}(3}/2fi USC 6103 Calffornia Penal Code 528 & Caiffor~a Penal Code 115



    1. Nly fegai identity is huges,mefvin teals legal address is 1Q14 5 VVest[ake Blvd 14-318
       Westlake Village CA. 91361
    2. Special Agent Bryan Starek employee of the intemai revenue service refused tv accept
       my legal identiftcation in civiE case 2:21-cv-Q8339
    3. Special Agent Kathleen Alexander refused to accept my legal identificatic~r~ in civil ease
       2:21-ev-08339
    4. Special Agent
    5. [swear under penalty of perjury that E have no legal interest at real property 233t~1 W.
       Parnpano Malibu CA. 9171 ~
    6. Special Agent Bryan Starek has used false information personated my legal surname
       while using a similar sounding to name to intimidate me in this ongoing civil
       case.2:21-cv-48339
    7. [ swore under penalty of perjury that special Kathleen Alexander has falsely used
       misleading information in the case X21-cv-48339 by using similar sounding surname to
       intimidate me in an ongoing civil investigation. Calfofmia (Penal Code 528}.
    8. (swore under penalty of perjury that special agent Bryan Stanek and Special Agent
       Kathleen Aiexartder are comr~nitting identity theft against my legal surname in civil case
       2:21-cv-Q8339 and are continuing to commit crimial activity against the huges,melvin
       fouls estate.




 Signed on this 9l6f2Q23

 huges,meEvin (ouis

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Case 2:21-cv-04569-JAK-KS                             Document 33 Filed 09/07/23                                         Page 23 of 25 Page ID
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                                                                   JURAT

   A notary public or other officer completing this certificate verifies only the identity of
   the individual who signed the document to which this certificate fs attached, and not
   the truthfulness, accuracy, or validity of that document.

   State of California

   County of            ~e~~fi~f~_


   Subscribed and stivorn to (or affirmed) before me on this                                       6 day of .~;~r~,~1~,;~

   2025            by            ~~~v.~~         L~•.,,~     ~;1.;~.e-s

   proved to me on the basis of satisfactory evidence to be the person(sj who appeared
   before me
                                                                                      ~•' ~       MAT?HEM~ JAMES NEMETMY~
                                                                                      ', ~ ~~      Notary Public -California
                                                                                              '         Ventura County
                                                                                                     Commission N 2457599
                                                                                       r +~~.+ ` My Comm. Expires Au4 5, 2027
   -~.l~c~S Se-b'''`ra /Y~,~
   Signature                                                      (Seal)


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 Exhibit F. Affidavit of Publication




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